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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ________________________________________________
 AMOURA BRYAN

                                Plaintiff,
                         v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,
 FORMER MAYOR BILL DEBLASIO,                INDEX No.: 1:22 CV 02234-EK-LB
 COMISSIONER ASHWIN VASAN, MD, PHD
 DEPARTMENT OF HEALTH AND MENTAL HYGIENE, SUPPLEMENTAL DECLARATION OF
 DEPARTMENT OF EDUCATION, AND DOES 1-20     JO SAINT-GEORGE IN SUPPORT OF
                                            COUNSELS OF RECORD MOTION TO
                      Defendants.           WITHDRAW ON BEHALF OF PLAINTIFF
                                            AMOURA BRYAN

_____________________________________________________________________________________________

        Jo Saint-George, pursuant to 28 U.S.C. §1746, does hereby state under penalty of

perjury that the foregoing is true and correct.

   1.    To clarify my initial Declaration filed with this Court on October 16, 2024, my

        statement regarding the lack of communication with Plaintiff Amoura Bryan was not for

        an entire year; but, rather that communication stopped for a substantive period of time

        wherein I as Counsel have been unable to effectively provide counsel to Ms. Bryan which

        has given rise to a real conflict of interest, which potential conflict of interest was

        explained to Ms. Bryan before the filing of my first declaration for which I had not

        received a response.

   2. Pursuant to New York State Rules of Professional Conduct Rule 1.7 regarding “Conflict

        of Interest” states: “a lawyer shall not represent a client if a reasonable lawyer would

        conclude that …. (1) the representation will involve the lawyer in representing differing

        interest.”
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  3. I hereby declare that representation of Ms. Amoura Bryan involves representing differing

     interests that would result in a violation of the Rules of Professional Conduct Rule 1.7.

  4. Therefore, all counsel of record, myself, Ms. Linsey and Ms. Este-Green hereby requests

     withdrawal on grounds of conflict of interest wherein we are unable to represent Ms.

     Bryan without a potential violation of Rule 1.7.

  5. Ms. Bryan has been notified of the conflict, and I have provided Ms. Bryan with several

     options on how to move forward and finally the direct responsive message I received

     yesterday, without disclosing client confidence, is that she agrees that the attorney-client

     relationship should terminate based on the conflict of interest.

  6. I also made clear to Ms. Bryan that due to the conflict of interest, I am unable to respond

     to the City’s Motion to Reconsider on her behalf.

  7. Because Ms. Bryan has not disclosed whether she has another lawyer, I again request that

     the Court please grant her a continuation of at least 90-days so she can procure new

     counsel and that new counsel will have time to adequately review her case and timely

     respond to the Motion to Reconsider by the City of New York.

  8. The 90-day continuance does not place any undue burden or prejudice on the City of

     New York other than more time that all the parties to this litigation has had to experience

     during the pendency and resolution of this case.

  9. In conclusion, I hereby again request approval of the request to withdraw as counsel of

     record for Ms. Bryan and that the Court grant Ms. Bryan at least a 90-day continuance to

     respond to the City’s Motion to Reconsider so that no manifest injustice occurs during the

     transition of her case.
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   10. I will be providing Ms. Bryan with her file shortly and/or within the reasonable time

      instructed by the Rules of Professional Conduct.



                                                    /s/ Jo Saint - George
Dated: October 21, 2024                             Jo Saint-George, Esq.
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